  1   Andrew J. Christensen (SBN: 260748)
      Attorney at Law
  2   1970 Broadway, Suite 550
      Oakland, CA 94612
  3   Tel: (510) 761-7183
      Fax: (510) 680-3430
  4   Andrew@CaliforniaHomeLawyer.com
  5
      Attorney for Creditors
  6   Bosco Kante and Maya Kante
  7
                             UNITED STATES BANKRUPTCY COURT
  8                          NORTHERN DISTRICT OF CALIFORNIA
  9
      In the Matter of:                             )   Case No: 17-41704 CN13
 10                                                 )
      Rosemary Greene                               )   Chapter 13
 11                                                 )
                                                    )   Notice of Hearing on Creditor’s Motion for
 12                       Debtor                    )   Scheduling Order
                                                    )
 13                                                 )   Hearing:
                                                    )   June 15, 2018
 14                                                     11:00 AM
                                                        1300 Clay Street,
 15
             Please Take Notice: Creditors Bosco Kante and Maya Kante have filed a Motion for
 16
      Scheduling Order. The hearing on this Motion shall be at the time and place specified above.
 17
      Any opposition shall be filed and served on the initiating party at least 14 days prior to the
 18
      actual scheduled hearing date. Any reply shall be filed and served at least 7 days prior to the
 19
      actual scheduled hearing date.
 20
             This motion is made to request that the hearing on the motion to dismiss be heard
 21
      before and separate from the hearing on the claim objection.
 22
       Dated:    May 18, 2018                              /s/ Andrew Christensen
 23
                                                           Andrew Christensen
 24                                                        Attorney for Creditors
 25
 26
 27
 28




Case: 17-41704      Doc# 117     Filed: 05/18/18    Entered: 05/18/18 03:31:28       Page 1 of 2
  1   Andrew J. Christensen (SBN: 260748)
      Attorney at Law
  2   1970 Broadway, Suite 550
      Oakland, CA 94612
  3   Tel: (510) 761-7183
      Fax: (510) 680-3430
  4   Andrew@CaliforniaHomeLawyer.com
  5
      Attorney for Creditors
  6   Bosco Kante and Maya Kante
  7
                              UNITED STATES BANKRUPTCY COURT
  8                           NORTHERN DISTRICT OF CALIFORNIA
  9
      In the Matter of:                             )   Case No: 17-41704 CN13
 10                                                 )
      Rosemary Greene                               )   Chapter 13
 11                                                 )
                                                    )   Certificate of Service
 12                         Debtor                  )
                                                    )   Hearing:
 13                                                 )   June 15, 2018
                                                    )   11:00 AM
 14                                                     1300 Clay Street,
 15          I, Andrew J. Christensen, declare that I am a citizen of the United States, over 18
      years of age, employed in Alameda County, and not a party to the within action. My business
 16   address is 1970 Broadway, Suite 550, Oakland, CA 94612. On August 29, 2017 I served the
      following document on the parties listed below by first class mail according to our ordinary
 17   business practices, in a sealed envelope, with paid postage, in Oakland California.
      Creditor’s Motion for Scheduling Order, and Notice of Hearing
 18
             I declare under penalty of perjury that the foregoing is true and correct and that this
 19   Declaration was executed on the following date at Oakland, California.
 20   Dated: May 18, 2018                                /s/ Andrew J. Christensen
                                                         Andrew J. Christensen
 21                                                      Attorney At Law
      First Class Mail:
 22   Rosemary Green
      PO Box 2344
 23   Oakland, CA 94614
 24   Electronic Service:
 25   United States Trustee
 26   Martha Bronitsky, Chapter 13 Trustee
 27
 28




Case: 17-41704      Doc# 117     Filed: 05/18/18    Entered: 05/18/18 03:31:28       Page 2 of 2
